Case 3:16-md-02738-MAS-RLS            Document 151           Filed 04/04/17   Page 1 of 2 PageID:
                                           2379


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


IN RE JOHNSON & JOHNSON                              MDL NO. 16-2738 (FLW) (LGH)
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY
LITIGATION


THIS DOCUMENT RELATES TO ALL CASES

                  PLAINTIFFS’ CROSS NOTICE OF TAKING ORAL
                 DEPOSITION OF JOANNE WALDSTREICHER, M.D.

 TO:    ALL COUNSEL OF RECORD

        PLEASE TAKE NOTICE that pursuant to the Federal Rules of Civil Procedure,

 Plaintiffs, by and through the undersigned counsel, hereby cross-notice the videotaped

 deposition upon oral examination of Joanne Waldstreicher, M.D. in the above-referenced

 matter. A copy of the original deposition notice is attached as Exhibit A.

        Plaintiffs reserve the right to take a supplemental (non-duplicative) deposition of Dr.

 Waldstreicher as may be needed based upon the production of documents and other discovery

 to occur subsequent to the presently scheduled deposition.

        The deposition will take place before a person authorized to administer oaths and will

 continue until completed at the following time and place:

        April 19, 2017, at 9:00 a.m. (EST)

        Conference Room at
        Drinker, Biddle & Reath
        600 Campus Drive
        Florham Park, NJ 07932
Case 3:16-md-02738-MAS-RLS                Document 151     Filed 04/04/17       Page 2 of 2 PageID:
                                               2380


       The deposition will be videotaped before a certified court reporter, and may be used for

the purposes of discovery or for use by Plaintiff as evidence at trial, both. You are invited to

appear and take part in the examination as you deem appropriate.


Dated: April 4, 2017                           Respectfully submitted,


/s/ Michelle A. Parfitt
U                                 U            /s/ P. Leigh O’Dell
                                               U                            U




MICHELLE A. PARFITT                            P. LEIGH O’DELL
Ashcraft & Gerel, LLP                          Beasley, Allen, Crow, Methvin, Portis & Miles, P.C
4900 Seminary Road, Suite 650                  218 Commerce Street
Alexandria, Virginia 22311                     Montgomery, Alabama 36104
703-931-5500                                   334-269-2343
mparfitt@ashcraftlaw.com
U                             U                leigh.odell@beasleyallen.com

/s/Christopher M. Placitella
Christopher M. Placitella
COHEN, PLACITELLA & ROTH, P.C.
127 Maple Avenue
Red Bank, NJ 07701
732-747-9003
cplacitella@cprlaw.com
30T                     30T




ATTORNEYS FOR PLAINTIFFS



                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2017, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive services in this MDL.


                                               /s/ P. Leigh O’Dell
                                               P. LEIGH O’DELL
                                               Beasley, Allen, Crow, Methvin, Portis & Miles, P.C
                                               218 Commerce Street
                                               Montgomery, Alabama 36104
                                               334-269-2343
                                               leigh.odell@beasleyallen.com

                                               ATTORNEY FOR PLAINTIFFS
